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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 10-60097-CR-UNGARO/TORRES


  UNITED STATES OF AMERICA,

        Plaintiff,

  v.

  ANSON JOACHIN,

        Defendant.
  ___________________________________/


            REPORT AND RECOMMENDATION ON CJA VOUCHER

        On or about March 29, 2011, court-appointed defense counsel Terence Lenamon

  (“Counsel”) submitted a voucher application numbered FLS 10 3338 requesting

  $87,562.50 as final payment for attorney’s fees pursuant to the Criminal Justice Act

  (“CJA”), 18 U.S.C. § 3006A. [D.E. 49].1 Counsel also provided a letter entitled

  “Overview of Complex Case” (“Letter Overview”) in which he outlined the nature of the

  case and his representation of Defendant Anson Joachin (“Defendant”) to support his

  claim for compensation in excess of the CJA statutory maximum. In addition, Counsel

  filed a Supplemental Information Statement and time sheets to document the work

  performed in the case. [D.E. 206-1 (“Supplement”)].



        1
              The amount requested exceeds the $9,700.00 statutory maximum allowed
  for representation in non-capital felony cases under the CJA. As a result, the
  Honorable Ursula Ungaro referred the voucher application to the undersigned
  Magistrate Judge for a Report and Recommendation as to whether the fees requested
  by Counsel are appropriate. [D.E. 201].
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        On September 1, 2011, we held a hearing on the voucher application. Counsel

  described the work performed in the case and provided additional documentation to

  support his voucher application. Based on our review of the voucher application, the

  supplemental materials, Counsel’s explanations, and our review of the case as a whole,

  we hereby recommend that Counsel be awarded a total amount of $67,306.50 as fair

  compensation for representing Defendant in this case.

                                   I.   DISCUSSION

        A.     Applicable Standard Under the Criminal Justice Act2

        The CJA authorizes the appointment of counsel to represent indigent defendants

  charged with federal offenses. 18 U.S.C. § 3006A. At the conclusion of a CJA

  representation, the court shall compensate the appointed attorney for “time expended

  in court,” “time reasonably expended out of court,” and “expenses reasonably incurred.”

  18 U.S.C. § 3006A(d)(1). The district court, as the body empowered to “fix” CJA-

  appointed counsel’s compensation, has the statutory authority and discretion to

  determine what is a reasonable expense or a reasonable use of billable time. See 18

  U.S.C. § 3006A(d)(5); United States v. Rodriguez, 833 F.2d 1536, 1537-38 (11th Cir.

  1987). Compensation is capped at $9,700.00, see Guidelines § 230.23.20(a), but a court

  may award a fee in excess of that amount by certifying that the case involved

  “extended or complex representation” and that the excess amount is “necessary to


        2
                The Judicial Conference of the United States developed guidelines to
  assist courts in the application of the CJA’s compensation provisions. See In re Berger,
  498 U.S. 233, 234 (1991). The “Guidelines for Administering the CJA and Related
  Statutes” (“Guidelines”) are contained in the Guide to Judiciary Policy, Volume 7, Part
  A.
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  provide fair compensation” to appointed counsel. See 18 U.S.C. §§ 3006A(d)(2) & (3);

  Guidelines §§ 230.23.40(b) & (c).

          A case may be considered “complex” if the legal or factual issues in a case are

  unusual, thus requiring the expenditure of more time, skill and effort by the lawyer

  than would normally be required in an average case. See Guidelines § 230.23.40(b).

  A case may be considered “extended” if more time is reasonably required for total

  processing than the average case, including pre-trial and post-trial hearings. Id.

          B.    Whether the Case was “Extended” or “Complex”

          In order to approve compensation in excess of the case compensation maximum,

  we first must find that the representation was either complex or extended. We find

  this case was complex for the reasons set forth below.

          1.    Nature and Number of Charges

          First, the very nature and number of charges involved in this case required

  Counsel to expend more time, skill, and effort than normally required in an average

  case.

          The case commenced on March 25, 2010 when the grand jury returned a ten-

  count Indictment against Defendant and three other individuals for conspiracy to

  commit mail fraud and wire fraud, mail fraud, wire fraud, and false statements. [D.E.

  3]. Defendant, the lead defendant in the case, was charged with nine counts including

  conspiracy. Thereafter the Indictment was superceded twice, on April 22, 2010 [D.E.

  10] and again on July 29, 2010 [D.E. 65]. The Second Superceding Indictment included

  one additional defendant and added three charges against Defendant.
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        The government alleged that the co-defendants in this case were involved in a

  mortgage fraud conspiracy scheme to unlawfully enrich themselves by (a) recruiting

  straw buyers to purchase residential properties throughout the State of Florida and (b)

  submitting false and fraudulent mortgage loan applications and related documents to

  lending institutions, thereby inducing the lending institutions to make mortgage loans

  to the straw buyers for the purchase of the residential properties. According to the

  government, Defendant identified residential properties in the state for purchase;

  recruited straw buyers who lent their identities and credit histories for money to

  further the fraudulent purchase of the identified properties; used the names of the

  straw buyers on fraudulent mortgage applications even though Defendant knew the

  alleged borrowers had no financial interest or intent to be the true borrowers/owners

  or occupants of the properties; and submitted the false and fraudulent mortgage

  applications to various mortgage lenders in order to fraudulently procure mortgage

  financing for the straw buyers.      The aggregate amount of the loans procured

  fraudulently by the co-defendants and others from the mortgage lenders was alleged

  to have exceeded $5,000,000.00.

        Defendant individually was charged with conspiracy to commit mail fraud and

  wire fraud, five counts of mail fraud, and five counts of wire fraud. He faced a

  maximum sentence of twenty (20) years’ imprisonment on each count. According to

  Counsel, the government considered Defendant the mastermind of the mortgage fraud

  conspiracy scheme.

        Counsel was appointed to represent Defendant on May 26, 2010. [D.E. 16-17].

  Regarding the complex nature of the case, Counsel opined that “this was not the
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  normal mortgage fraud case” in that there was no hard evidence of mortgage fraud by

  his client, i.e., it was a “paper crime, but without the defendant on any of the papers[.]”

  See Letter Overview. Several months before the scheduled trial date, the other four

  defendants in the case pled guilty. [D.E. 124]. Counsel explained that the government

  intended to prove its case against his client by “introduc[ing] a series of cooperating

  witnesses, all of whom had confessed to committing the fraud in question, who would

  point their fingers at [Defendant] as the mastermind behind all the fraud.” See Letter

  Overview.

         Counsel received 11 boxes of discovery containing over 35,000 documents. Id.

  He also obtained additional substantial documents and investigative reports on the

  cooperating witnesses. Id. The documents were dense, e.g., complex mortgages, titles,

  deeds, trusts, real estate documents, and bank records. See Supplement at 1. The

  documents were organized by property, so case preparation required tedious cross-

  referencing among the five co-conspirators and the properties involved in the fraud.

  Id. The co-conspirators used aliases and were listed under multiple business names,

  adding to the complexity of tracing the money and sales transactions. Id. Close

  scrutiny of the documents was necessary to determine signature similarities, initials,

  and email addresses. Id. Defendant’s name did not appear on many if any of the

  documents, and each page had to be scanned closely as well as cross-referenced. Id.

         Counsel stated it took months to read and understand the mortgage documents

  in question and the relevant law. See Letter Overview. The court even authorized

  Counsel to engage an expert in mortgage and real estate lending to assess the
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  evidence, given the sophistication of the mortgage fraud conspiracy alleged. [D.E. 123,

  126]. Literally days before the specially-set trial was to begin, the government

  “significantly sweetened the plea offer” by offering to recommend a sentence of 41

  months’ imprisonment if Defendant pled guilty to Counts I (conspiracy) and II (mail

  fraud). Subsequent negotiations led to a last-minute change of plea by Defendant on

  Friday, December 3, 2010 [D.E. 165] and averted trial that was scheduled to begin the

  following Monday, December 6, 2010. Id.

        2.     Number and Complexity of Documents

        Second, this case was very document-intensive, and the documents themselves

  were quite complex. Counsel reviewed over 35,000 pages of discovery that consisted

  largely of mortgage papers and bank records that were sufficiently complex to warrant

  the hiring of a CJA-funded expert. The volume and complexity of the documents that

  Counsel had to review to effectively represent Defendant rendered this case more

  complex than the average case.

        3.     Case was Trial-Ready

        Although the case did not proceed to trial, it very nearly did. Counsel was

  prepared to defend against all eleven counts in the Superceding Indictment, each count

  carrying a penalty of up to twenty years in prison. Each of the co-defendants pled

  guilty based on plea agreements with the government, and the government intended

  to use these witnesses to finger Defendant as the mastermind of the scheme. Counsel

  even hired (at his own expense) a jury consultant to help prepare for what he believed

  was an imminent trial.
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        However, a few days before the scheduled trial date, a plea deal was struck. The

  government agreed to drop most of the charges and recommend a reduced prison

  sentence in exchange for Defendant’s plea of guilty to one count each of conspiracy and

  mail fraud. After several hours of negotiating, Defendant accepted the offer and pled

  guilty on a Friday, three days before the Monday that trial was to begin.

        It is clear from the record that the legal and factual issues in this case were

  unusual. Consequently, we conclude that this matter required the expenditure of more

  time, skill, and effort by Counsel than would normally be required in the average case.

        C.     What is Fair Compensation

        Having concluded that the representation provided by Counsel was complex, we

  next determine what amount of fees in excess of the case compensation maximum will

  provide “fair compensation” to Counsel. See Guidelines § 230.23.40(c). We may

  consider criteria such as: the responsibilities involved measured by the magnitude and

  importance of the case; the manner in which the duties were performed; the knowledge,

  skill, efficiency, professionalism, and judgment required of and used by counsel; and

  the nature of counsel’s practice and injury thereto; any extraordinary pressure of time

  or other factors under which the services were rendered; and any other circumstances

  relevant and material to a determination of a fair and reasonable fee. Id.

        Counsel requested compensation in the following amounts: (a) $562.50 for 4.5

  in-court hours, and (b) $87,000.00 for 696.0 out-of-court hours, for a total of $87,562.50

  in attorney’s fees. The out-of-court hours include 51.4 hours for “Interviews and

  Conferences,” 443.9 hours for “Obtaining and reviewing records,” 196.2 hours for
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  “Legal research and brief writing,” and 4.5 hours for “Investigative and Other work.”

        1.      Voucher Amount - Administrator’s Review

        The Court’s CJA administrator first reviewed Counsel’s voucher for compliance

  with the Guidelines and mathematical accuracy prior to our review.             The CJA

  administrator made no changes to either the in-court or out-of-court hours. She thus

  concluded that the overall total amount documented by Counsel in the voucher

  application was $87,562.50.

        2.      In-Court Hours3

        Counsel sought reimbursement in the amount of $562.50 for 4.5 in-court hours.

  As noted, the CJA administrator made no adjustment to the number of in-court hours.

  We approve the amount of $562.50 as reasonable.

        3.      Out-of-Court Hours

        Counsel sought reimbursement in the amount of $87,000.00 based on 696.0 out-

  of-court hours. The CJA administrator did not adjust this number. However, at the

  September 1st hearing, Counsel advised the Court that he had erroneously requested

  compensation for 20 hours that were not billable. He conceded that the time spent on

  9/30/2010, 10/1/2010, 10/4/2010, and 10/5/2010 reviewing reading materials in

  preparation for trial was not recoverable. Accordingly, we deduct 20 hours from the

  category “Legal research and brief writing” and arrive at a total of 176.2 hours for such

  services.




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                We defer to the Court Clerk to verify all in-court times and expense
  allowances.
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        Our initial review of Counsel’s voucher application revealed an extremely large

  number of out-of-court hours billed for “Obtaining and reviewing records” (443.9 hours)

  and “Legal research and brief writing” (now reduced to 176.2 hours).          Many of

  Counsel’s entries on the time sheets were not specific enough for us to determine

  whether the work performed was appropriate or necessary in this case. For example,

  in the “Obtaining and reviewing records” category, 41 hours were spent between June

  28 and July 6, 2010 on “Discovery Summaries” and approximately 380 hours were

  spent between July 7 and September 29, 2010 on “Document Review.” Beside each

  entry was a notation, presumably of the number of pages reviewed. Similarly, in the

  “Interviews and Conferences” category, 16 hours were spent on “FDC Visit[s]” but no

  explanation for the visits was provided. That contrasts with other entries in this

  category totaling 23.2 hours that adequately described the purpose of the FDC visits.

        The aforementioned entries do not contain sufficient detail to allow us to

  determine whether the work performed was reasonable and necessary in this case.

  Accordingly, we scheduled a hearing to provide Counsel an opportunity to elaborate on

  his request for compensation.

        At the September 1st hearing, Counsel did adequately explain the work that was

  performed and why it was necessary. As previously noted, over 35,000 pages of

  complex mortgage and banking-related documents were obtained in discovery.

  Counsel’s paralegal indexed and cataloged a large number (though not all) of the

  documents.    The paralegal then prepared voluminous “discovery summaries”

  identifying each document, its Bates-stamped number, and noting significant

  information relative to the document.      Counsel’s “minor partner,” Robert Brock
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   (“Brock”), then reviewed documents based on the paralegal’s discovery summaries.

   Only the attorney’s time was billed, not the paralegal’s. It was this work by the

   attorney that is reflected in the “Discovery Summaries” entries.

             Documents that were not summarized by the paralegal were thoroughly

   reviewed and analyzed by Brock in an effort to find some connection to Defendant in

   a case in which there was little written evidence connecting him to the alleged

   mortgage fraud conspiracy. Counsel supervised Brock’s work, meeting with him

   regularly to discuss his findings and analysis. This work is reflected in the “Document

   Review” entries.

             As for the “FDC Visit” entries, Counsel explained that numerous hours were

   spent with Defendant in the FDC, reviewing the many documents provided by the

   government as well as phone calls (in Creole) from jail that had to be reviewed with the

   client.

             Finally, Counsel advised the Court that he did not bill for the worked performed

   by an associate and another partner from his firm who contributed to the defense of the

   case. He estimated that the total amount of work his firm performed to represent

   Defendant exceeded by approximately 25% the amount of time included in his voucher

   application.

             Based on the foregoing, we conclude the number of out-of-court hours spent

   representing Defendant and for which compensation has been requested was

   reasonable and justified in this document-intensive, complex, multi-defendant

   mortgage fraud conspiracy case. However, a reduction in the rate at which some of

   these hours were billed is in order.
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         At the September 1st hearing, Counsel advised that the bulk of the document

   review was done by Brock. Brock is a relatively new lawyer. He graduated from

   Florida International University College of Law in 2008 and was admitted to the

   Florida Bar in 2010. Counsel, by contrast, graduated in 1992, was admitted to the

   Florida Bar in 1993, and is an AV-rated attorney who is board-certified in criminal

   trial. Yet the hourly rate requested in the voucher application – $125.00 per hour for

   all work done in the case – fails to take into account this significant difference in their

   experience. Accordingly, we will reduce the hourly rate for work done by the newer

   attorney to $75.00 per hour.

         Based on Counsel’s statements, we will attribute 80% of the work performed for

   “Obtaining and reviewing records” to Brock. Thus, whereas the original amount

   sought for this category totaled $55,487.50 (443.9 hours x $125.00), under our two-

   tiered fee schedule the reduced amount is $37,731.50.4

         We are mindful that when considering awards to counsel under the CJA, courts

   have long recognized that there is an inherent tension between the policies underlying

   the CJA: “[o]n the one hand, representing indigent defendants is a form of public

   service; thus, the [CJA] was never intended to provide full compensation for an

   attorney’s services or to provide fees equal to those charged in private practice. On the



          4
                We arrived at this figure in this fashion: Counsel claimed a total of 443.9
   hours for “Obtaining and reviewing records.” Brock performed 80% of the work so
   443.9 hours x 80% = 355.12 hours at a rate of $75.00 per hour = $26,634.00. Counsel
   performed the remaining 20% of the work so 443.9 hours x 20% = 88.78 hours at a rate
   of $125.00 per hour = $11,097.50. Therefore, total compensation for this category
   should be: $26,634.00 + $11,097.50 = $37,731.50.
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   other hand, the [CJA] was also intended to provide indigent defendants with

   meaningful representation by competent counsel[.]” United States v. Mukhtaar, No.

   06 Cr. 31 (SWK), 2008 WL 2151798, at * 2 (S.D. N.Y. May 21, 2008) (internal citations

   omitted). Congress intended the CJA to “partially alleviate the financial burden”

   associated with the provision of services that traditionally had been provided pro bono.

   United States v. Diaz, 802 F. Supp. 304, 307 (C.D.Cal.1992) (quoting United States v.

   Carnevale, 624 F. Supp. 381, 383 (D.R.I.1985)). “The spirit of the statute is lost once

   the CJA representation of indigent defendants loses its essentially pro bono nature.”

   Id.

         Applying these principles to the facts in this case, and deducting the 20 hours

   that Counsel conceded were not billable, we conclude that an award of $66,744.00 for

   out-of-court hours is fair, though admittedly not full compensation for Counsel’s

   services.

                                   II.   CONCLUSION

         We commend Counsel for his professionalism and willingness to take this

   appointment. “What is commendable, however, is not necessarily compensable.”

   United States v. Smith, 76 F.Supp.2d 767, 769 (S.D. Texas 1999). It is with this

   sentiment in mind that we recommend that the rate reduction be applied to a portion

   of the work performed.

         As explained above, because the representation in this case was complex, we

   recommend that Counsel be reimbursed for an amount in excess of the $9,700.00

   compensation cap. Based upon my consideration of the materials and testimony

   supporting the voucher application, as well as the docket and filings in this case, we
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   RECOMMEND that Counsel Terence Lenamon be paid a total amount of $67,306.50

   as fair and final compensation for his work in this case.

         Pursuant to Local Magistrate Rule 4(b), the parties have fourteen (14) days from

   the date of this Report and Recommendation in which to serve and file written

   objections, if any, with the Honorable Ursula Ungaro, United States District Judge.

   Failure to timely file objections shall bar the parties from a de novo determination by

   the District Judge of an issue covered in the report and bar the parties from attacking

   on appeal the factual findings contained herein. R.T.C. v. Hallmark Builders, Inc., 996

   F.2d 1144, 1149 (11th Cir. 1993); LoConte v. Dugger, 847 F.2d 745 (11th Cir. 1988);

   Nettles v. Wainwright, 677 F.2d 404, 410 (5th Cir. Unit B 1982) (en banc); 28 U.S.C.

   § 636(b)(1).

         DONE AND SUBMITTED in Chambers at Miami, Florida, this 28th day of

   November, 2011.

                                                   /s/ Edwin G. Torres
                                                 EDWIN G. TORRES
                                                 United States Magistrate Judge
